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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA

DENISE BRINKLEY, individually and
on behalf of all others similarly situated,               Case No. 3:23-cv-01207

       Plaintiff,                                         CLASS ACTION

v.                                                        JURY TRIAL DEMANDED

PHILO, INC.,

      Defendant.
____________________________________/
                           NOTICE OF NON-OPPOSITION
       Plaintiff Denise Brinkley hereby gives notice that she does not oppose

Defendant’s Motion to Compel Arbitration, [DE 31], and respectfully requests for the

Court to enter a stay of this case pending completion of the arbitration proceedings.



Dated: February 1, 2024

                                                    Respectfully submitted,
                                              By:
                                                    HIRALDO P.A.
                                                    /s/ Manuel S. Hiraldo
                                                    Manuel Hiraldo, Esq.*
                                                    Florida Bar No. 030380
                                                    401 E. Las Olas Blvd., Suite 1400
                                                    Fort Lauderdale, FL 33301
                                                    mhiraldo@hiraldolaw.com
                                                    305.336.7466
                                                    *Lead Counsel for Plaintiff
